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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                 4:05CR3143
                                    )
           v.                       )
                                    )
LISA MCGINN,                        )       REPORT AND RECOMMENDATION
                                    )
                  Defendant.        )
                                    )



     Defendant Lisa McGinn has moved to dismiss the indictment
against her.     Filing 24.    She claims the indictment is legally
insufficient on its face because it does not comply with Rule
7(c)(1) of the Federal Rules of Criminal Procedure, fails to
inform her of the charges she must defend, and fails to provide
sufficient notice as to the means by which the government alleges
the crime was committed.       See filing 24, ¶¶ 1-3.


     An indictment is sufficient if it includes the elements of
the offense, provides adequate notice of the charge, and enables
the defendant to plead double jeopardy as a bar to further
prosecution.     Hamling v. United States, 418 U.S. 87 (1974);
United States v. Hernandez, 299 F.3d 984, 992 (8th Cir. 2002);
United States     v. Diaz-Diaz, 135 F.3d 572, 575-76 (8th Cir.
1998).   “An indictment will ordinarily be held sufficient unless
it is so defective that it cannot be said, by any reasonable
construction, to charge the offense for which the defendant was
convicted.”     Hernandez, 299 F.3d at 992.


     The indictment alleges Thomas McGinn was scheduled to begin
serving a court-ordered sentence for violating the terms of his
supervised release imposed in United States v. Thomas McGinn,
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4:99 CR 3074.    The sentence surrender date was set for August 8,
2005.    The indictment alleges Thomas McGinn and Lisa McGinn
violated “Title 18 United States Code, Sections 3146(a)(2) and 2”
in that “[o]n or about August 9, 2005, in the District of
Nebraska the Defendants, Thomas F. McGinn and Lisa McGinn . . .
did knowingly and wilfully fail to surrender for service of the
sentence ordered by the Court.       See filing 1.


     18 U.S.C. § 3146(a)(2) states that “[w]hoever, having been
released under this chapter knowingly. . . fails to surrender for
service of sentence pursuant to a court order. . . shall be
punished as provided in [18 U.S.C. § 3146(b)].”             To establish a
violation of 18 U.S.C. § 3146, the government must prove the
defendant: (1) was released pending judicial proceedings; (2) was
required to appear in court; (3) was aware of his required
appearance; (4) failed to appear as required; and (5) was willful
in his failure to appear.      United States v. McGill, 604 F.2d 1252
(9th Cir. 1979)(relied on by United States v. Morris, 230 F.3d
1364, 2000 WL 1280361, *1 (8th      Cir. 2000)(unpublished)).


        The indictment in this case alleges Thomas McGinn was
released pursuant to Chapter 207 of Title 18 of the United States
Code (the “Bail Reform Act of 1984,” 18 U.S.C. §§ 3141-56)
pending commencement of his sentence for violating the terms of
his supervised release, was directed by the Court to report to
the United States Marshal for the District of Nebraska on August
8, 2005 at 2:00 p.m. to begin serving his court-ordered sentence,
and knowingly and wilfully failed to appear.            The indictment
therefore alleges each of the essential elements of the
substantive criminal offense of violating 18 U.S.C. § 3146(a)(2).




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     Under 18 U.S.C. § 2, an aider and abetter in a criminal
activity may be held liable as a principal.              United States v.
                               th
Fultz, 602 F.2d 830, 833 (8         Cir. 1979).        “A person aids or
abets another in a crime ‘if [she] knowingly and willfully
associates [herself] in some way with the criminal venture, with
the intent to commit the crime, willfully participates in it as
something [she] wishes to bring about, and willfully seeks by
some action of [hers] to make it succeed.’”              United States v.
                                      th
Wedelstedt, 589 F.2d 339, 349 (8           Cir. 1978).      “An aider and
abetter may be indicted directly with the commission of the
substantive crime,” (Nassif v. United States, 370 F.2d 147, 155
(8th Cir. 1966)), and where the defendant is indicted as a
principal under 18 U.S.C. § 2, the indictment “need not
specifically allege that [the defendant] aided and abetted in the
commission of the crime,” (United States v. Good Shield, 544
F.2d, 950, 952 (8th Cir. 1976)), nor state “how and in what
manner the defendant aided and abetted another in the commission
of an offense against the United States.”              United States v.
Garrison,   527 F.2d 998, 999 (8th Cir. 1975)(citing Coffin v.
United States, 156 U.S. 432, 448 (1894); United States v.
Simmons, 96 U.S. 360, 363 (1878); Hale v. United States, 25 F.2d
430, 434 (8th Cir. 1928).     “[A] person may be convicted as an
aider and abettor even though the indictment does not
specifically charge [her] in that capacity.”              United States v.
                                     th
Lugo-Baez, 412 F.2d 435, 440 (8            Cir. 1969).


     The indictment against Lisa McGinn and Thomas McGinn alleges
Thomas McGinn violated 18 U.S.C. § 3146(a)(2), and that both
defendants knowingly and willfully committed this criminal
conduct.    Though the indictment does not use the words “aid and
abet,” specifically explain that Lisa McGinn is being charged as
an aider and abettor in Thomas McGinn’s failure to appear, or


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describe the government’s basis for claiming she aided and
abetted Thomas McGinn in committing the crime, the indictment
provides Lisa McGinn with notice of the essential elements of the
indictment against her, and sufficiently charges her as a
principal in violating 18 U.S.C. § 3146(a)(2) and 18 U.S.C. § 2.
The defendant’s motion to dismiss the indictment as facially
defective should therefore be denied.


     IT THEREFORE HEREBY IS RECOMMENDED to the Honorable Lyle E.
Strom, United States District Judge, pursuant to 28 U.S.C.
§636(b)(1)(B), that the defendant’s motion to dismiss, filing 24,
be denied in all respects.

     The parties are notified that a failure to object to this
recommendation in accordance with the local rules of practice may
be held to be a waiver of any right to appeal the district
judge’s adoption of this recommendation.


     DATED this 24th day of April, 2006.


                                    BY THE COURT:


                                    s/ David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge




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